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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                  V.                                      )      ( WO)

                        ISAAC C. DAILEY                                           Case Number: 2:10cr242-MEF-04

                                                                          )       USM Number: 13378-002

                                                                          )       Christine Freeman
                                                                                  Defendant's Attorney
THE DEFENDANT:
  'p)eaded guilty to count(s)          1 of the Indictment on 9/12/2011           _______________
   pleaded nob contendere to count(s)
   which was accepted by the court.                                                                        -
E was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended             Count

 18286                              Conspiracy to Defraud the Government with Respects to                       6/30/2010                 1

                                    Claims




L See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
fl The defendant has been found not guilty on count(s)

   'Count(s) 35, 36, 37 of the Indictment                    is       re diniissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or matting address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and Umted States attorney of material changes in economic circumstances.

                                                                          12/20/2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Ju g
                                                                                               IIJJ-
                                                                          Mark E. Fuller, United States District Judge
                                                                          Name of Judge                                 Title of Judge


                                                                                   .O                    86'— / /
                                                                          Date
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AO 245B         (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet 2— imprisonment

                                                                                                                     Judgment Page: 2 of 6
     DEFENDANT: ISAAC C. DAILEY
     CASE NUMBER: 2:10cr242-MEF-04


                                                                 IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      Time Served. (Nine Months 11 days)




         LI The court makes the following recommendations to the Bureau of Prisons:




             The defendant is remanded to the custody of the United States Marshal.
                (for release)
         LI The defendant shall surrender to the United States Marshal for this district:

             LIat                  ____________ LI am. LI p.m. on

             LI as notified by the United States Marshal.

         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             LI before                   on

             LI as notified by the United States Marshal.

             LI as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                           to

     a                                                     with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                               By__________ _______________
                                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B           (Rev. 09/i]) Judgment in a Criminal Case
vi                Sheet 3—Supervised Release


 DEFENDANT: ISAAC C. DAILEY                                                                                                 Judgment Page: 3 of 6
 CASE NUMBER: 2:10cr242-MEF-04
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
              The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, fapplicab1e.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Chec/c, fapp1icab1e.)

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)

 E The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and fo)low the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shalJ not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release


 DEFENDANT: ISAAC C. DAILEY                                                                               Judgment Page: 4 of 6
 CASE NUMBER: 2:10cr242-MEF-04


                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall provide the probation officer any requested financial information.
     2. Defendant shall not obtain new credit without the approval of the Court unless in compliance with his payment schedule.
     3. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
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AU 245B          (Rev. 09/11) Judgment in a Criminal Case
vi               Sheet 5—Criminal Monetaiy Penalties

                                                                                                                          Judgment Page: 5 of 6
     DEFENDANT: ISAAC C. DAILEY
     CASE NUMBER: 2:10cr242-MEF-04
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                         Fine                                Restitution
 TOTALS                $ 100.00                                           $ 0.00                              $ $88,336.00


     El The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (40 245C) will be entered
         after such determination.

     El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 1J.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                        Total Loss*                   Restitution Ordered Priority or Percenta2e

      IRS-RACS                                                                                               $88,336.00
      ATTENTION: Mail Stop 6261, Restitution

      333 West Pershing Avenue
      Kansas City, Missouri 64108




 TOTALS                                                                                     $0.00            $88,336.00


 El Restitution amount ordered pursuant to plea agreement $

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the        El fine            restitution.

          El the interest requirement for the          El fine El restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Chajiers 109A, 110, 11OA, and I 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B          (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 6— Schedule of Payments

                                                                                                                      Judgment Page: 6 of 6
 DEFENDANT: ISAAC C. DAILEY
 CASE NUMBER: 2:10cr242-MEF-04


                                                            SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of$ 88,436.00                       due immediately, balance due

            El       not later than __________________________ , or
                     in accordance           C,       D,   El     E, or           F below; or

 B LI Payment to begin immediately (may be combined with                     C,          D, or        F below); or

 C         Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $       _____________ over a period of
          ____________ (e.g., months or years), to commence      _______ (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $         _____________ over a period of
                   -     (e.g., months or years), to commence              (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     :1 Special instructions regarding the payment of criminal monetary penalties:
            Any balance of restitution remaining at the start of supervision shall be paid at a rate of not less than $100 per month.
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, paynnt of crininal monetary penalties is due during
 imprisonment. M( crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
